               IN THE UNITED STATES DISTRICT COURT FOR THE
                       WESTERN DISTRICT OF MISSOURI
                            SOUTHERN DIVISION

UNITED STATES OF AMERICA,                    )
                                             )
       Plaintiff,                            )
                                             )
                    v.                       )   Criminal Action No.
                                             )   13-03041-01/02-CR-S-DGK
BRUCE CONANT and                             )
RENDY CONANT,                                )
                                             )
     Defendants.                             )

                MEMORANDUM OF MATTERS DISCUSSED AND
                ACTION TAKEN AT PRETRIAL CONFERENCE

       Pursuant to the order of the Court en banc of the United States District Court for

the Western District of Missouri, a pretrial conference was held via videoconference in

the above-entitled cause before me on April 2, 2014.    Defendant Bruce Conant appeared

in person and with retained counsel Donald Cooley.     Defendant Rendy Conant appeared

in person and with retained counsel Tyce Smith.           The United States of America

appeared by Assistant United States Attorney Ami Miller.

I.     BACKGROUND

       On May 8, 2013, an indictment was returned charging Defendant Bruce Conant

with one count of conspiracy to distribute methamphetamine, in violation of 21 U.S.C. §§

841(a)(1) and (b)(1)(A)(viii), one count of possession with the intent to distribute

methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A)(viii) and 18 U.S.C. §

2, one count of possessing a firearm in furtherance of drug trafficking crimes, in violation


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of 18 U.S.C. § 924(c)(1)(A), one count of being a felon in possession of a firearm, in

violation of 18 U.S.C. §§ 922(g)(1) and 924(a)(2), and two forfeiture counts.      Defendant

Rendy Conant was charged with one count of conspiracy to distribute methamphetamine,

in violation of 21 U.S.C. §§ 841(a)(1) and (b)(1)(A)(viii), one count of possession with

the intent to distribute methamphetamine, in violation of 21 U.S.C. §§ 841(a)(1),

(b)(1)(A)(viii) and 18 U.S.C. § 2, and one count of criminal forfeiture.

         The following matters were discussed and action taken during the pretrial

conference:

II.      TRIAL COUNSEL

         Ms. Miller announced that she will be the trial counsel for the government; April

McGall will assist.   The case agent to be seated at counsel table is Tim Krisk.

         Mr. Cooley announced that he will be the trial counsel for Defendant Bruce

Conant.

         Mr. Smith announced that he will be the trial counsel for Defendant Rendy

Conant.     Mr. Smith may have an assistant who is yet to be identified.

III.     OUTSTANDING MOTIONS

         There following motions remain pending:

            •   Defendant Bruce Conant’s motions to suppress (Doc. Nos. 46, 47), Report
                and Recommendations filed 02/10/14 and 03/20/14 (Doc. Nos. 77, 85);
            •   Defendant Rendy Conant’s motion to quash (Doc. No. 39), Report and
                Recommendations filed 02/10/14 and 03/20/14 (Doc. Nos. 78, 85); and
            •   Defendant’s amended motion to quash/suppress (Doc. No. 52), Report and
                Recommendations filed 02/10/14 and 03/20/14 (Doc. Nos. 78, 85).
            •   Defendant Rendy Conant’s Motion that the District Court Rule on her
                Motion for a Franks Hearing, Supplemental Motion for a Franks Hearing

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                  and Defendant’s Motion to Supplement Motion Denied by the Magistrate
                  Judge Without the District Court (Doc. No. 95), filed 04/02/14.

IV.     TRIAL WITNESSES

        Ms. Miller announced that the government intends to call 20 witnesses without

stipulations or 13 witnesses with stipulations during the trial.

        Mr. Cooley announced that Defendant Bruce Conant does not intend to call any

witnesses during the trial. Defendant Bruce Conant may testify.

        Mr. Smith announced that Defendant Rendy Conant does not intend to call any

witnesses during the trial. Defendant Rendy Conant may testify.

V.      TRIAL EXHIBITS

        Ms. Miller announced that the government will offer approximately 150 (50

photographs) exhibits in evidence during the trial.

        Mr. Cooley announced that Defendant Bruce Conant will not offer any exhibits in

evidence during the trial.

        Mr. Smith announced that Defendant Rendy Conant will not offer any exhibits in

evidence during the trial.

VI.     DEFENSES

        Mr. Cooley announced that Defendant Bruce Conant will rely on the defense of

general denial.

        Mr. Smith announced that Defendant Rendy Conant will rely on the defense of

general denial.



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VII.    POSSIBLE DISPOSITION

        Mr. Cooley stated this case is definitely for trial.

        Mr. Smith stated this case is definitely for trial.

VIII. STIPULATIONS

        Stipulations are not likely.

IX.     TRIAL TIME

        Counsel were in agreement that this case will take 2-3 days to try.

X.      EXHIBIT LIST, VOIR DIRE AND INSTRUCTIONS

        The U. S. Magistrate Judge ordered:

        That counsel for each party file and serve a list of exhibits he or she intends to
        offer in evidence at the trial of this case on the form entitled Exhibit Index and
        have all available exhibits premarked using the stickers provided by the Clerk of
        Court by or before April 2, 2014;

        That counsel for each party file and serve requested jury voir dire examination
        questions by or before noon on April 9, 2014;

        That counsel for each party file and serve, in accordance with the requirements of
        Local Rule 51.1, requested jury instructions by or before noon on April 9, 2014.
        Counsel are requested to provide proposed jury instructions in both hard copy
        form, as required by Local Rule 51.1, and by e-mail to the trial judge’s courtroom
        deputy.

XI.     UNUSUAL QUESTIONS OF LAW

        Motions in limine on the following issues will probably be filed regarding newly

designated witnesses. There are no unusual questions of law.




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XII.    TRIAL SETTING

        All counsel and the defendants were informed that this case will be listed for trial

on April 14, 2014.



                                                 /s/ Robert E. Larsen
                                              ROBERT E. LARSEN
                                              United States Magistrate Judge

Kansas City, Missouri
April 2, 2014

cc:     Mr. Kevin Lyon




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